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 1
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 5

 6   ATTORNEY FOR Defendant,
     MARK BAGDASARIAN
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                                 ******
11   UNITED STATES OF AMERICA,                          Case No.: 1:11-CR-00352-LJO-SKO
12
                    Plaintiff,
13                                                      NOTICE OF REQUEST AND REQUEST
            v.                                          TO SEAL DOCUMENTS AND ORDER
14
     MARK BAGDASARIAN,
15
                    Defendant.
16

17   TO THE ABOVE ENTITLED COURT AND THE ASSISTANT UNITED STATES
     ATTORNEY FOR THE EASTERN DISTRICT OF CALIFORNIA:
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19          Defendant, Mark Bagdasarian, by and through his attorney Anthony P. Capozzi,

20   hereby requests that the Declaration of Anthony P. Capozzi be filed under seal with a copy

21   being served upon the United States Attorney.

22          This request is made pursuant to Local Rule 141(a) which states that documents can be

23   sealed only by written order of the United States District Court. Under the Local Rule access to

24   all documents filed under seal is restricted to the Court and authorized court personnel.

25          The conditions and terms of release sets out confidential and sensitive information that

26   is subject to the Defendant’s privacy rights.

27   ///

28   ///
                                                      1
                                        REQUEST TO SEAL DOCUMENTS
                                      CASE NO.: 1:11-CR-00352-LJO-SKO
     Case 1:11-cr-00352-LJO-SKO Document 68 Filed 07/25/14 Page 2 of 2
 1         Accordingly, it is requested that the Declaration of Anthony P. Capozzi be Sealed with

 2   a copy served electronically upon the United States Attorney.

 3

 4                                             Respectfully submitted,

 5   Dated:       July 25, 2014          By: /s/Anthony P. Capozzi
                                             ANTHONY P. CAPOZZI
 6                                           Attorney for MARK BAGDASARIAN
 7

 8                                               ORDER

 9
              For reasons set forth above, the defendants request to have the Declaration of Anthony
10
     P. Capozzi filed Under Seal is granted.
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     IT IS SO ORDERED.
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14      Dated:      July 25, 2014                           /s/ Lawrence J. O’Neill
                                                       UNITED STATES DISTRICT JUDGE
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                                        REQUEST TO SEAL DOCUMENTS
                                      CASE NO.: 1:11-CR-00352-LJO-SKO
